                                                                         Issued by SAW
          Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 1 of 8 PageID# 22

AO 440(Rev. 06/12) Summoas in a Civil Action


                                     United States District Court
                                                                  for the

                                                       Eastern District of Virginia

                                                                                                         L
                              Di Ai,




                           Plaintiff(s)
                                V.                                          Civil Action No.

    Ian Terrance Gillis, Shoyeb Mohammed Ahmed,
        Rasier, LLC and Liber Technologies, Inc.,


                          Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Shoyeb Mohammed Ahmed
                                          47599 Comer Sq
                                          Sterling, VA 20165




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are:




          If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


                                                                                               COPY
Date:
           mijms                                                                         Signature ofClerk or Deputy Clerk
         Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 2 of 8 PageID# 23
AO 440(Rev.06/12) Summons in a Civil Action(Page 2)

Civil Action No. 23-cv-1470


                                                        PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(I))

          This summons for(name ofindividual and title, ifany)
was received by me on (date)


          □ I personally served the summons on the individual at (place)
                                                                              on (date)                             ; or

          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual's last known address; or

          □ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                              on (date)                             ; or


          □ I returned the summons unexecuted because                                                                             ; or

          □ Other (specify):




          My fees are $                         for travel and $                   for services, for a total of $          o.OO


          I declare under penalty of peijury that this information is true.



 Date:
                                                                                          Server's signature



                                                                                      Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
                                                                              Issued by SAW
         Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 3 of 8 PageID# 24

AO 440(Rev. 06/12) Summoas in a Civil Action


                                      United States District Cour
                                                                  for the
                                                                                                             €
                                                       Eastern District of Virginia
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                             Di Ai.                                                                L


                           Plaintijf(s)
                                V.                                          Civil Action No.

   Ian Terrance Gillis, Shoyeb Mohammed Ahmed,
       Rasier, LLC and Liber Technologies, Inc.,


                          Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Uber Technologies, Inc.
                                          1515 Third Street
                                          San Francisco, OA 94158




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:
                                                                                                COPY
                                                                                         Signature ofClerk or Deputy Clerk
         Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 4 of 8 PageID# 25
AO 440(Rev.06/12) Summons in a Civil Action(Page 2)

Civil Action No.       23-cv-1470

                                                        PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed, R, Civ. P. 4(I))

          This summons for (name ofindividual and title, ifany)
was received by me on (date)


          □ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                   a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual's last known address; or

          □I I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or


          □ I returned the summons unexecuted because                                                                               ; or

          O Other (specify):




          My fees are $                         for travel and $                     for services, for a total of $          o.OO


          I declare under penalty of perjury that this information is true.


Date;
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
                                                                             Issued by SAW
          Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 5 of 8 PageID# 26
AO 440(Rev. 06/12) SummoQS in a Civil Action


                                     United States District Court
                                                                  for the

                                                       Eastern District of Virginia


                             Di Ai,




                           Plaintiff(s)
                                V.                                          Civil Action No.

   Ian Terrance Gillis, Shoyeb Mohammed Ahmed.
        Rasier, LLC and Uber Technologies, Inc.,


                          Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Rasler, LLC
                                          1515 3rd Street
                                          San Francisco, CA 94158




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date: lQj27pZj                                                                                 COPY
                                                                                         Signature ofClerk or Deputy Clerk
         Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 6 of 8 PageID# 27
AO 440(Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.      23-cv-1470

                                                          PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed, R. Civ. P. 4(I))

           This summons for(name ofindividual and title, ifany)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                              , and mailed a copy to the individual's last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           □ I returned the summons unexecuted because                                                                              ; or

           O Other (specify):




           My fees are $                          for travel and $                   for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
                                                                            Issued by SAW
         Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 7 of 8 PageID# 28
AO 440(Rev, 06/12) Summons in a Civil Action


                                      United States District Court
                                                                    for the

                                                         Eastern District of Virginia


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                           Plaintiff(s)
                               V.                                             Civil Action No.

   Ian Terrance Gillis, Shoyeb Mohammed Ahmed,
       Rasier, LLC and Liber Technologies, Inc.,


                          Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Ian Terrance Glllls
                                          805 N 5th St
                                          Perkasie, PA 18944




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




          If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT



Date:                                                                                        COPY
                                                                                           Signature ofClerk or Deputy Clerk
         Case 1:23-cv-01470-LMB-LRV Document 2 Filed 10/27/23 Page 8 of 8 PageID# 29
AO 440(Rev. 06/12) Summons in a Civil Action(Page 2)

Civil Action No.       23-cv-1470

                                                         PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed, R. Civ. P. 4(I))

          This Sumnions for(name ofindividual and title, ifany)
was received by me on (date)


          □ I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or

          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                    a person of suitable age and discretion who resides there,
          on (date)                              , and mailed a copy to the individual's last known address; or

          □ I served the summons on (name of individual)                                                                        , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

          □ I returned the summons unexecuted because                                                                                ; or

          O Other (specify):




          My fees are $                          for travel and $                     for services, for a total of $          o.OO


          I declare under penalty of perjury that this information is true.



Date:
                                                                                              Server's signature



                                                                                          Printed name and title




                                                                                              Server's address


Additional information regarding attempted service, etc:
